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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

                                     CLERK’S MINUTES

 CASE NO.: 8:24-cr-276-VMC-UAM                            DATE:     August 15, 2024

 HONORABLE          VIRGINIA       M.       HERNANDEZ
 COVINGTON
 UNITED STATES OF AMERICA                                 GOVERNMENT COUNSEL
                                                          Maria Guzman
 v.
                                                          DEFENDANT COUNSEL
 Brock David Fischer and Miguel Angel Fortier, Jr.        Nicholas Gianni Matassini
 COURT REPORTER: Bill Jones                               DEPUTY             Magaly
                                                          CLERK:             Justiniano
                                                          COURTROOM:         14B
 TIME: 10:28 AM-10:29AM
 TOTAL: 1 min


PROCEEDINGS:        STATUS CONFERENCE

Oral motion to continue by defense. No objections by the Government.

The Court GRANTED the motion to continue and found that the ends of justice are served by
such a continuance and outweigh the best interest of the public and the defendant in a speedy
trial.

Estimated Length of Trial:       3-4 days

Speedy Trial Waived Through:     November 30, 2024

Trial Term:                      November 2024

Next Status Conference:          October 17, 2024 at 9:30 AM
